 Case 2:91-cr-80936-PJD ECF No. 1083, PageID.1009 Filed 03/19/07 Page 1 of 1
                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

                                                   CASE NO.91-80936-16
                                                   HON. PATRICK J. DUGGAN
UNITED STATES OF AMERICA,
          Plaintiff(s),
vs.

MICHAEL ZAJAC,
           Defendant(s).
______________________________/

                   ORDER REGARDING SEALED MATERIALS
               IN COMPLIANCE WITH LOCAL RULES 5.3 AND 5.4


     Pursuant to Local Rule 5.3/5.4 regarding sealed materials,

     NOW THEREFORE, IT IS ORDERED that the Clerk of Court is directed to:

        x         Unseal document Number 510 in this case and restore it
                  to the public file.



                  Return the sealed documents to the submitting party
                  and amend the court record to reflect this action.




                                         s/PATRICK J. DUGGAN
                                      UNITED STATES DISTRICT JUDGE
DATE: MARCH 19, 2007
TO:
Wayne Pratt
Ronald Waterstreet
David Gardey
Joan Morgan
